 1

 2

 3

 4                                                  THE HONORABLE MARC BARRECA
 5
                        UNITED STATE BANKRUPTCY COURT
 6             FOR THE WESTERN DISTRICT OF WASHINGTON AT SEATTLE

 7

 8    IN RE:                                          NO. 14-10421

 9    CASEY R. INGELS,
        Debtor
10
      JOHN S. PETERSON, AS                            Adv. No.
11    BANKRUPTCY TRUSTEE,
12       Plaintiff,                                   COMPLAINT FOR ORDER DENYING
      v.                                              DISCHARGE
13    CASEY R. INGELS,
         Defendants.
14

15          JOHN S. PETERSON, as Trustee, for his complaint against the above-named defendant,

16   alleges as follows:

17                                     JURISDICTION/VENUE
18          1. This Court has jurisdiction over the matter(s) described herein as core proceeding(s)
19
     under 28 U.S.C. Section(s) 157(b)(2)(A) and (J), and under 28 USC Section 1334.
20
            2. Venue for the action(s) set forth herein rest with the above-named Court under 28
21
     U.S.C. Section 1409(a), as action(s) related to the above-captioned bankruptcy case.
22

23   PARTIES:

24          3. The Plaintiff herein, JOHN S. PETERSON AS TRUSTEE ("plaintiff"), is the duly

25

26                                                               JOHN S. PETERSON
                                                                   ATTORNEY AT LAW
27                                                                      P.O. Box 829
                                                                    Kingston, WA 98346
                                                                       (360)626-4392
 28 14-01387-CMA
Case                       Doc 1   Filed 09/29/14    Ent. 09/29/14 16:35:47     Pg. 1 of 3
     appointed, qualified and acting trustee in the above-captioned Chapter 7 bankruptcy case.
 1

 2           4. Defendans CASEY RAY INGELS is the debtor in the above-captioned case. The

 3   last known address of debtor-defendants provided by the defendants to the court is PO Box

 4   2242, Tacoma, WA 98401.
 5
                                      SPECIFIC ALLEGATIONS:
 6
             5. The above-captioned bankruptcy case was commenced on January 23, 2014, when
 7
     the debtor filed his voluntary Chapter 7 petition with the above-named Bankruptcy Court.
 8
             6. With the Chapter 7 petition, the debtor filed schedules of his assets and liabilities
 9

10   and a statement of financial affairs.

11           7. An examination of the debtor pursuant to 11 USC 341 was conducted March 11,
12   2014.
13
             8. During the examination, the debtor knowingly and fraudulently gave a false oath or
14
     account. Without limitation, the debtor/defendant made material mis-statements in the
15
     examination about the funding of the MJ Ray Ingels Family Irrevocable Trust, property at 9830
16

17   Dekoven Dr. SW, Lakewood, Washington, transfers of the property to and from the trust and to

18   MJB Consulting, LLC, and his knowledge of MJB Consulting, LLC.

19           9. The trustee reserves the right to amend this complaint in any respect as further
20   information about the subject matter hereof may be obtained.
21
             Wherefore, plaintiff prays for an order of this Court, finding, determining and ordering
22
     as follows:
23
             (a) entry of an order denying the debtor-defendants discharge in the bankruptcy case,
24

25

26                                                                 JOHN S. PETERSON
                                                                      ATTORNEY AT LAW
27                                                                         P.O. Box 829
                                                                       Kingston, WA 98346
                                                                          (360)626-4392
 28 14-01387-CMA
Case                     Doc 1     Filed 09/29/14     Ent. 09/29/14 16:35:47       Pg. 2 of 3
     pursuant to 11 U.S.C. 727(a)(4)(A) and
 1

 2          (b) such other and further relief as the Court deems just and proper.

 3          Dated this 29th day of September, 2014.

 4                                                       /s/ JOHN S. PETERSON
                                                         JOHN S. PETERSON
 5
                                                         Trustee
 6                                                       WSBA # 13985

 7

 8

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25   Complaint
     Page 3
26                                                               JOHN S. PETERSON
                                                                    ATTORNEY AT LAW
27                                                                       P.O. Box 829
                                                                     Kingston, WA 98346
                                                                        (360)626-4392
 28 14-01387-CMA
Case                    Doc 1    Filed 09/29/14     Ent. 09/29/14 16:35:47          Pg. 3 of 3
